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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: MIGUEL BOCOURT                 : BKY. NO. 21-12420
                                       : CHAPTER 13



          AMENDED NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE

 Debtor Miguel Bocourt filed a Motion To Avoid Judicial Liens

        Your rights may be affected. You should read these papers carefully and discuss them
 with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
 you may wish to consult an attorney.)

 1.    If you do not want the court to grant the relief sought in the Motion or if you want
 the court to consider your views on the motion, then on or before April 2, 2024 you or your
 attorney must do ALL of the following:
         (a) file an answer explaining your position at

                U.S. Bankruptcy Court
                Clerk’s Office
                United States Courthouse
                900 Market Street
                Philadelphia, Pennsylvania 19107-4295


 If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early enough
 so that it will be received on or before the date stated above; and

         (b)    mail a copy to the movant’s attorney:

                Donald Williford, Esquire
                114 Radcliffe Street
                Bristol, PA 19007
                Phone No.: (215) 785-3241
                Fax No.: (215) 798-9659
                Don.williford@comcast.net

 2. If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and
 attend the hearing, the court may enter an order granting the relief requested in the motion.

 3.    A hearing on the Motion is scheduled to be held before the Honorable Magdeline D.
 Coleman on April 9, 2024 at 10:30 A.M., in Courtroom #2 United States Bankruptcy Court, 900
 Market Street, Philadelphia, PA 19107-4295.
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 4. If a copy of the Motion is not enclosed, a copy of the Motion will be provided to you if you
 are on the Clerk’s Service List and you request a copy from the attorney named in paragraph 1
 (b).

 5. You may contact the Bankruptcy Clerk’s office at (215) 408-2800 to find out whether the
 hearing has been canceled because no one filed an answer.
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          IN RE: MIGUEL BOCOURT                 : BKY. NO. 21-12420
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                           ORDER TO AVOID JUDICIAL LIENS


                 AND NOW, this                    day of                   2024,

       upon consideration of Debtors’ Motion to Avoid a Judicial Liens and after

       notice and opportunity for a hearing, it is hereby ORDERED and DECREED,

       that:

                   1.    The Motion is granted.

                   2.    The property situate at 131 Elderberry Drive, Levittown, Bucks

   County, Pennsylvania is now free and clear of the following judgment liens

                   3.    The judicial lien held by American Financial Services, Inc. DBA

   (GM Financial) against Debtor Miguel Bocourt and recorded on June 22, 2021 in the

   Judgment Index of Bucks County, Pennsylvania, pursuant to a Bucks County Court of

   Common Pleas Judgment in case No. 2021-03294 is hereby avoided and shall not

   survive Debtor’s bankruptcy or affix to or remain enforceable against the

   aforementioned residence of the Debtor;

                   4.    The judicial lien held by Credit Counseling Solutions, Inc. against

   Debtor Miguel Bocourt and recorded on June 17, 2020 in the Judgment Index of

   Bucks County, Pennsylvania, pursuant to a Bucks County Court of Common Pleas

   Judgment in case No. 2020-02635 is hereby avoided and shall not survive Debtor’s

   bankruptcy or affix to or remain enforceable against the aforementioned residence of

   the Debtor;
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                                         BY THE COURT:



                                                                      J.
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                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE: MIGUEL BOCOURT                      : BKY. NO. 21-12420
                                                  : CHAPTER 13


                                           MOTION TO AVOID LIENS

            Debtor Miguel Bocourt, Jr., by and through his attorney Donald Williford,

     Esquire, moves this Court for orders avoiding judicial liens and in support thereof

     states the following:

            1.         Debtor commenced this action on September 2, 2021 by filing a

     voluntary petition for relief under Chapter 7 of the Bankruptcy Code

            2.         On April 30, 2022, Debtor converted to Chapter 13 of the Bankruptcy Code.

            3.         Debtor and his wife are the joint owners of real property situate at

     131 Elderberry Drive, Levittown, Bucks County, Pennsylvania (real property).

            4.         The aforesaid real property has an appraised value of $397,600.00

     and Colonial Savings, FA has a mortgage lien currently in the amount of

     $171,949.29.

            5.         The Debtor exempted his real property as tenants by the entireties

     pursuant to 11U.S.C. §522(b)(2)B.

            6.         Debtor had the following pre-petition judicial liens filed against him in

     the Bucks County Court of Common Pleas:

                 (a)       American Financial Services versus Miguel Bocourt filed on June

22, 2021 at No. 2021-03294 in the amount of $24,987.17; and


                 (b)       Credit Corp. Solutions versus Miguel Bocourt filed on 06/17/2020

at No. 2020-02635 in the amount of $1,846.75.
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        7.      Debtor avers and therefore believes that pursuant to 11 U.S.C. § 506(a),

no portion of the aforesaid judgment liens are secured claims and the entire amounts

are deemed an unsecured claim.


        8.      The judgment liens against the real property are impairing Debtor’s

exemption under 11U.S.C. §522(b)(2)B.


        9.      Debtor may, therefore, avoid the lien under 11 U.S.C. § 522 (f)(1).


        WHEREFORE, the Debtor Miguel Bocourt moves for an Order pursuant to 11 U.S.C. § 522(f)

avoiding the Bucks County Court of Common Pleas judgment liens held by American Financial

Services and Credit Core Solutions, Inc.


                                                     Respectfully submitted,

Date: 03/11/2024                                     ______________________________
                                                     Donald Williford, Esquire
                                                     Attorney I.D. #50130
                                                     114 Radcliffe Street
                                                     Bristol, PA 19007
                                                     (215) 785-3241
                                                     don.williford@comcast.net
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                                      CERTIFICATE OF SERVICE

        I, Donald Williford, Esquire, hereby cer�fy that a copy of the atached Mo�on To Avoid

 Judicial Liens was mailed or sent via email on March 11, 2024 to the following:

 Oﬃce of the U.S. Trustee
 Custom House
 200 Chestnut Street, Suite 502
 Philadelphia, PA 19106

 Chapter 13 Trustee
 Kenneth West, Esquire
 1234 Market Street (SEPTA Building)
 Suite 1813
 Philadelphia, PA 19107

 American Financial Services, Inc.
 Dba GM Financial
 P.O. Box 183853
 Arlington, TX 76096

 Credit Corp. Solu�ons, Inc.
 501 Corporate Drive
 Suite 205
 Canonsburg, PA 15317

                                             Respec�ully submited,

 Date: 03/11/2024                            _________________________
                                             Donald Williford, Esquire
                                             Atorney I.D. #50130
                                             114 Radcliﬀe Street
                                             Bristol, PA 19007
                                             (215) 785-3241
                                             don.williford@comcast.net
